                    Case 19-11240-LSS          Doc 527        Filed 08/07/19        Page 1 of 10



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                       :
In re:                                                 :       Chapter 11
                                                       :
FTD Companies, Inc., et al.,1                          :       Case No. 19-11240 (LSS)
                                                       :
                    Debtors.                           :       (Jointly Administered)
                                                       :
                       NOTICE OF AGENDA OF MATTERS SCHEDULED
                     FOR HEARING ON AUGUST 9, 2019 AT 10:00 A.M. (EDT)2

 I.       CONTESTED MATTER GOING FORWARD:

          1.         Motion of the Debtors for Entry of Orders (I)(A) Approving Bidding Procedures
                     for the Sale of Substantially All of the Debtors' Assets, (B) Authorizing the
                     Debtors to Enter Into One or More Stalking Horse Agreements and to Provide
                     Bidding Protections Thereunder, (C) Scheduling an Auction and Approving the
                     Form and Manner of Notice Thereof, (D) Approving Assumption and Assignment
                     Procedures, (E) Scheduling a Sale Hearing and Approving the Form and Manner
                     of Notice Thereof and (F) Granting Related Relief; (II)(A) Approving the Sale of
                     the Debtors' Assets Free and Clear of Liens, Claims, Interests and Encumbrances,
                     (B) Approving the Assumption and Assignment of Executory Contracts and
                     Unexpired Leases and (C) Granting Related Relief [Docket No. 82 - filed June 6,
                     2019]

                     Objection/Response Deadline:              July 16, 2019 at 4:00 p.m. (ET); extended to
                                                               July 17, 2019 for Hearst Communications,
                                                               Inc.; extended to July 19, 2019 for counsel
                                                               to Bank of America, N.A., as administrative
                                                               agent under both the Debtors' prepetition
                                                               secured credit facility and proposed

 1        The Debtors are the following 15 entities (the last four digits of their respective taxpayer identification
          numbers, if any, follow in parentheses): FTD Companies, Inc. (5852); Bloom That, Inc. (9936); Florists'
          Transworld Delivery, Inc. (6960); FlowerFarm, Inc. (2852); FSC Denver LLC (7104); FSC Phoenix LLC
          (7970); FTD, Inc. (1271); FTD.CA, Inc. (7556); FTD.COM Inc. (4509); FTD Group, Inc. (9190); FTD
          Mobile, Inc. (7423); Giftco, LLC (5832); Provide Cards, Inc. (3462); Provide Commerce LLC (0019); and
          Provide Creations, Inc. (8964). The Debtors' noticing address in these chapter 11 cases is 3113 Woodcreek
          Drive, Downers Grove, IL 60515.
 2
          The hearing will be held before The Honorable Laurie Selber Silverstein at the United States Bankruptcy
          Court for the District of Delaware, 824 North Market Street, 5th Floor, Courtroom 5, Wilmington,
          Delaware 19801. Any person who wishes to appear telephonically at the August 9, 2019 hearing must
          contact COURTCALL, LLC at 866-582-6878 prior to the hearing to register his/her telephonic appearance
          in accordance with the Instructions for Telephonic Appearances Effective January 5, 2005, Revised May
          11, 2018.



 RLF1 21676588v.2
                   Case 19-11240-LSS       Doc 527        Filed 08/07/19    Page 2 of 10



                                                           postpetition secured credit facility ("Bank of
                                                           America, N.A."); extended for Verizon to
                                                           July 23, 2019 at 4:00 p.m. (ET); extended
                                                           for 360i LLC to July 25, 2019 at 5:00 p.m.
                                                           (ET)

                    Supplemental Objection Deadline:       August 6, 2019

                    Objection / Responses Received:

                    A.     Oracle's Limited Objection to and Reservation of Rights Regarding
                           Motion of the Debtors for Entry of Orders (I)(A) Approving Bidding
                           Procedures for the Sale of Substantially All of the Debtors' Assets,
                           (B) Authorizing the Debtors to Enter Into One or More Stalking Horse
                           Agreements and to Provide Bidding Protections Thereunder,
                           (C) Scheduling an Auction and Approving the Form and Manner of Notice
                           Thereof, (D) Approving Assumption and Assignment Procedures,
                           (E) Scheduling a Sale Hearing and Approving the Form and Manner of
                           Notice Thereof and (F) Granting Related Relief; (II)(A) Approving the
                           Sale of the Debtors' Assets Free and Clear of Liens, Claims, Interests and
                           Encumbrances, (B) Approving the Assumption and Assignment of
                           Executory Contracts and Unexpired Leases and (C) Granting Related
                           Relief ("Sale Motion"); and (2) Notice of Cure Costs and Potential
                           Assumption and Assignment of Executory Contracts and Unexpired
                           Leases in Connection with Sale of Substantially All Assets ("Assumption
                           Notice") [Docket No. 383 – filed July 15, 2019]

                    Status: The hearing on this objection is going forward.

                    B.     Limited Objection and Reservation of Rights Regarding Proposed Asset
                           Sales (filed by Bank of America, N.A.) [Docket No. 419 – filed July 19,
                           2019]

                    Status: The hearing on this objection is going forward.

                    C.     Limited Objection of the Official Committee of Unsecured Creditors to
                           Proposed Asset Sales [Docket No. 454 – filed July 26, 2019]

                    Status: The hearing on this objection is going forward.

                    D.     Limited Objection of the Easysaver Class Representatives to Proposed
                           Asset Sales [Docket No. 513 – filed August 6, 2019]

                    Status: The hearing on this objection is going forward.




                                                      2
RLF1 21676588v.2
                   Case 19-11240-LSS       Doc 527      Filed 08/07/19    Page 3 of 10



                    Cure Objection / Responses Received:

                    A.     Irvine Eastgate Office II, LLC Objection to Proposed Cure Amount
                           [Docket No. 381 – filed July 15, 2019]

                    Status: The hearing on this objection is going forward.

                    B.     Oracle's Limited Objection to and Reservation of Rights Regarding
                           Motion of the Debtors for Entry of Orders (I)(A) Approving Bidding
                           Procedures for the Sale of Substantially All of the Debtors' Assets,
                           (B) Authorizing the Debtors to Enter Into One or More Stalking Horse
                           Agreements and to Provide Bidding Protections Thereunder,
                           (C) Scheduling an Auction and Approving the Form and Manner of Notice
                           Thereof, (D) Approving Assumption and Assignment Procedures,
                           (E) Scheduling a Sale Hearing and Approving the Form and Manner of
                           Notice Thereof and (F) Granting Related Relief; (II)(A) Approving the
                           Sale of the Debtors' Assets Free and Clear of Liens, Claims, Interests and
                           Encumbrances, (B) Approving the Assumption and Assignment of
                           Executory Contracts and Unexpired Leases and (C) Granting Related
                           Relief ("Sale Motion"); and (2) Notice of Cure Costs and Potential
                           Assumption and Assignment of Executory Contracts and Unexpired
                           Leases in Connection with Sale of Substantially All Assets ("Assumption
                           Notice") [Docket No. 383 – filed July 15, 2019]

                    Status: The hearing on this objection is going forward.

                    C.     Cure Amount/Assignment Objection by LeSaint Logistics, LLC [Docket
                           No. 384 – filed July 15, 2019]

                    Status: The hearing on this objection has been continued to the omnibus hearing
                            scheduled for August 20, 2019 at 10:00 a.m. (ET).

                    D.     Limited Objection and Reservation of Rights (filed by Aetna Life
                           Insurance Company) [Docket No. 385 – filed July 15, 2019]

                    E.     Amended Limited Objection and Reservation of Rights (filed by Aetna
                           Life Insurance Company) [Docket No. 466 – filed July 29, 2019]

                    Status: The hearing on this objection has been continued to the omnibus hearing
                            scheduled for August 20, 2019 at 10:00 a.m. (ET).

                    F.     Objection of PAC Operating Limited Partnership to Notice of Cure Costs
                           and Potential Assumption and Assignment of Executory Contracts and
                           Unexpired Leases in Connection with Sale of Substantially All Assets
                           [Docket No. 386 – filed July 16, 2019]

                    Status: The hearing on this objection is going forward.

                                                    3
RLF1 21676588v.2
                   Case 19-11240-LSS       Doc 527      Filed 08/07/19    Page 4 of 10




                    G.     Cure Objection by Microsoft [Docket No. 389 – filed July 16, 2019]

                    Status: The hearing on this objection is going forward.

                    H.     Objection of PW Fund LP as Assignee of OK&B, LLC to Notice of Cure
                           Costs and Potential Assumption and Assignment of Executory Contracts
                           and Unexpired Leases in Connection with Sale of Substantially All Assets
                           [Docket No. 390 – filed July 16, 2019]

                    Status: The hearing on this objection is going forward.

                    I.     Objection of Sun Valley Group to Notice of Cure Costs and Potential
                           Assumption and Assignment of Executory Contracts and Unexpired
                           Leases in Connection with Sale of Substantially All Assets [Docket No.
                           391 – filed July 16, 2019]

                    Status: The hearing on this objection is going forward.

                    J.     Limited Objection and Reservation of Rights of Google LLC to Notice of
                           Cure Costs and Potential Assumption and Assignment of Executory
                           Contracts and Unexpired Leases in Connection with Sale of Substantially
                           All Assets [Docket No. 392 – filed July 16, 2019]

                    K.     Supplemental Limited Objection and Reservation of Rights of Google
                           LLC to Notice of Cure Costs and Potential Assumption and Assignment of
                           Executory Contracts and Unexpired Leases in Connection with Sale of
                           Substantially All Assets [Docket No. 511 – filed August 6, 2019]

                    Status: The hearing on this objection is going forward.

                    L.     Limited Objection and Reservation of Rights of United Parcel Service,
                           Inc. and Its Affiliates to Notice of Cure Costs and Potential Assumption
                           and Assignment of Executory Contracts and Unexpired Leases in
                           Connection with Sale of Substantially All Assets [Docket No. 393 – filed
                           July 16, 2019]

                    Status: The hearing on this objection is going forward.

                    M.     Groupon's Limited Objection and Reservation of Rights [Docket No. 395
                           – filed July 16, 2019]

                    Status: The hearing on this objection is going forward.

                    N.     Batesville Casket Company, Inc.'s Limited Response to and Reservation
                           of Rights Regarding Debtors' Notice of Cure Costs and Potential
                           Assumption and Assignment of Executory Contracts and Unexpired

                                                    4
RLF1 21676588v.2
                   Case 19-11240-LSS       Doc 527      Filed 08/07/19    Page 5 of 10



                           Leases in Connection with Sale of Substantially All Assets [Docket No.
                           397 – filed July 16, 2019]

                    Status: The hearing on this objection is going forward.

                    O.     Objection of MCPF-LRC Logistics, LLC to the Notice of Cure Costs and
                           Potential Assumption and Assignment of Executory Contracts and
                           Unexpired Leases in Connection with Sale of Substantially All Assets
                           [Docket No. 399 – filed July 16, 2019]

                    Status: The hearing on this objection is going forward.

                    P.     Objection of Salesforce.com, Inc. to the Proposed Assumption and
                           Assignment of Certain Executory Contracts and Cure Costs in Connection
                           with the Sale of Substantially All Assets, and Reservation of Rights
                           [Docket No. 400 – filed July 16, 2019]

                    Q.     Declaration of Kevin Ramirez in Support of the Objection of
                           Salesforce.com, Inc. to the Proposed Assumption and Assignment of
                           Certain Executory Contracts and Cure Costs in Connection with the Sale
                           of Substantially All Assets, and Reservation of Rights [Docket No. 401 –
                           filed July 16, 2019]

                    Status: The hearing on this objection has been continued to the omnibus hearing
                            scheduled for August 20, 2019 at 10:00 a.m. (ET).

                    R.     Hearst Communications, Inc.'s Objection to Proposed Cure Amounts and
                           Assumption and Assignment of Certain Executory Contract in Connection
                           with Sale of Potentially All Assets [Docket No. 402 – filed July 17, 2019]

                    S.     (Amended) Hearst Communications, Inc.'s Objection to Proposed Cure
                           Amounts and Assumption and Assignment of Certain Executory Contract
                           in Connection with Sale of Potentially All Assets [Docket No. 403 – filed
                           July 17, 2019]

                    Status: The hearing on this objection has been continued to the omnibus hearing
                            scheduled for August 20, 2019 at 10:00 a.m. (ET).

                    T.     Limited Objection of Jetxin Limited to Debtors' Notice of Cure Costs and
                           Potential Assumption and Assignment of Executory Contracts and
                           Unexpired Leases in Connection with Sale of Substantially All Assets
                           [Docket No. 434 – filed July 23, 2019]

                    Status: The hearing on this objection is going forward.

                    U.     Limited Objection of Verizon Media Group and XO Communications
                           Services, LLC to Notice of Cure Costs and Potential Assumption and

                                                    5
RLF1 21676588v.2
                   Case 19-11240-LSS       Doc 527      Filed 08/07/19    Page 6 of 10



                           Assignment of Executory Contracts and Unexpired Leases in Connection
                           With Sale of Substantially All Assets [Docket No. 436 – filed July 23,
                           2019]

                    Status: The hearing on this objection is going forward.

                    V.     Limited Objection and Reservation of Rights of 360i LLC to Notice of
                           Cure Costs and Potential Assumption and Assignment of Executory
                           Contracts and Unexpired Leases in Connection With Sale of Substantially
                           All Assets [Docket No. 440 – filed July 24, 2019]

                    Status: The hearing on this objection is going forward.

                    W.     Objection of CenturyLink Communications, LLC and Level 3
                           Communications, LLC to Proposed Cure Amount [Docket No. 456 – filed
                           July 26, 2019]

                    Status: The hearing on this objection has been continued to the omnibus hearing
                            scheduled for August 20, 2019 at 10:00 a.m. (ET).

                    X.     Limited Objection of Strategic Media, Inc. to Notice of Cure Costs and
                           Potential Assumption and Assignment of Executory Contracts and
                           Unexpired Leases in Connection with Sale of Substantially All Assets
                           [Docket No. 461 – filed July 29, 2019]

                    Status: The hearing on this objection is going forward.

                    Y.     American Airlines, Inc.'s Response to Debtors' Notice of Cure Costs and
                           Potential Assumption and Assignment of Executory Contracts and
                           Unexpired Leases in Connection with Sale of Substantially All Assets
                           [Docket No. 496 – filed August 1, 2019]

                    Status: The hearing on this objection is going forward.

                    Z.     Informal Response of Crown Equipment Corporation

                    Status: The hearing on this informal response is going forward.

                    AA.    Informal Response of XTRA Lease LLC

                    Status: The hearing on this informal response is going forward.

                    BB.    Informal Response of Access Information Management

                    Status: The hearing on this informal response is going forward.

                    CC.    Informal Response of Dallas County, Galveston County

                                                    6
RLF1 21676588v.2
                   Case 19-11240-LSS        Doc 527     Filed 08/07/19     Page 7 of 10



                    tatus: The hearing on this informal response is going forward.

                    DD.     Informal Response of Sobeys

                    Status: The hearing on this informal response is going forward.

                    Related Documents:

                    i.      DIP Credit Agreement, attached as Exhibit B to Motion of the Debtors,
                            Pursuant to Sections 105, 361, 362, 363, 364, and 507 of the Bankruptcy
                            Code, Bankruptcy Rule 4001, and Local Rule 4001-2, for Interim and
                            Final Orders (I) Authorizing Debtors to (A) Obtain Pospetition Financing
                            and (B) Use Cash Collateral, (II) Granting Adequate Protection to
                            Prepetition Secured Parties, (III) Scheduling Final Hearing, and
                            (IV) Granting Related Relief [Docket No. 19 – filed June 3, 2019]

                    ii.     Order (I) Approving Bidding Procedures for the Sale of Substantially All
                            of the Debtors' Assets, (II) Authorizing the Debtors to Enter Into One or
                            More Stalking Horse Agreements and to Provide Bidding Protections
                            Thereunder, (III) Scheduling an Auction and Approving the Form and
                            Manner of Notice Thereof, (IV) Approving Assumption and Assignment
                            Procedures, (V) Scheduling a Sale Hearing and Approving the Form and
                            Manner of Notice Thereof and (VI) Granting Related Relief [Docket No.
                            201 – entered June 25, 2019]

                    iii.    Notice of Sale, Bidding Procedures, Auction, Sale Hearing and Other
                            Deadlines Related Thereto [Docket No. 215 – filed June 26, 2019]

                    iv.     Notice of Cure Costs and Potential Assumption and Assignment of
                            Executory Contracts and Unexpired Leases in Connection with Sale of
                            Substantially All Assets [Docket No. 286 – filed July 1, 2019]

                    v.      Affidavit of Service of Publication [Docket No. 287 – filed July 1, 2019]

                    vi.     Final Order Pursuant to Sections 105, 361, 362, 363, 364, and 507 of the
                            Bankruptcy Code, Bankruptcy Rule 4001, and Local Rule 4001-2,
                            (I) Authorizing Debtors to (A) Obtain Postpetition Financing and (B) Use
                            Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured
                            Parties, (III) Scheduling Final Hearing, and (IV) Granting Related Relief
                            [Docket No. 311 – entered July 2, 2019]

                    vii.    Notice of (I) Adjournment of Auction and Sale Hearing for (A) the FTD
                            Assets and Provide Commerce and (B) Gourmet Foods and (II) Extension
                            of Certain Deadlines Set Forth in Bidding Procedures [Docket No. 420 –
                            filed July 19, 2019] (the "Notice of Adjournment")

                    viii.   Notice of (I) Cancellation of Auction and (II) Successful Bid for Personal
                            Creations [Docket No. 421 – filed July 19, 2019]
                                                      7
RLF1 21676588v.2
                   Case 19-11240-LSS        Doc 527      Filed 08/07/19   Page 8 of 10



                    ix.     Notice of Filing of Amendments to Cure Costs and Potential Assumption
                            and Assignment of Executory Contracts and Unexpired Leases in
                            Connection with Sale of Substantially All Assets [Docket No. 448 – filed
                            July 25, 2019]

                    x.      Notice of Auction Results in Connection with the Sale of the FTD Assets
                            and the Restructured ProFlowers Business [Docket No. 499 – filed August
                            1, 2019]

                    xi.     Notice of Auction Results in Connection with the Sale of Gourmet Foods
                            [Docket No. 500 – filed August 1, 2019]

                    xii.    Declaration of Evan P. Glucoft in Support of the Sale of the FTD Assets
                            and the Restructured ProFlowers Business [Docket No. 518 – filed August
                            7, 2019]

                    xiii.   Declaration of Daniel Cauley on Behalf of SBGF Acquisition, LLC,
                            Successful Bidder for Gourmet Foods, in Support of the Sale of Certain of
                            the Debtors' Assets [Docket No. 521 – filed August 7, 2019]

                    xiv.    Notice of Filing of Proposed Sale Order for the Sale of Gourmet Foods to
                            SBGF Acquisition, LLC [Docket No. 522 – filed August 7, 2019]

                    xv.     Declaration of Teri Stratton in Support of the Sale of Gourmet Foods to
                            SBGF Acquisition, LLC [Docket No. 523 – filed August 7, 2019]

                    xvi.    Declaration of Steve Bloom in Support of the Sale of FTD Assets and
                            Restructured ProFlowers Business to Gateway Mercury Holdings, LLC
                            [Docket No. 524 – filed August 7, 2019]

                    xvii.   Declaration of Alan D. Holtz in Support of the (A) Sale of the FTD Assets
                            and the Restructured ProFlowers Business to Gateway Mercury Holdings,
                            LLC and (B) Sale of Gourmet Foods to SBGF Acquisition, LLC [Docket
                            No. 525 – filed August 7, 2019]

                    xviii. Notice of Filing of Proposed Sale Order for the Sale of the FTD Assets
                           and the Restructured ProFlowers Business to Gateway Mercury Holdings,
                           LLC [Docket No. 526 – filed August 7, 2019]

                    General Status: Pursuant to the Notice of Adjournment, the Sale Hearing with
                                    respect to (i) the FTD Assets and the Restructured ProFlowers
                                    Business and (ii) Gourmet Foods is going forward.

         2.         Supplemental Motion of the Debtors for Entry of an Order (I) Authorizing the
                    Debtors to Pay (A) Certain Prepetition Employee Obligations and (B) Certain
                    WARN Act Liabilities; and (II) Granting Related Relief [Docket No. 503 – filed
                    August 2, 2019]

                                                     8
RLF1 21676588v.2
                   Case 19-11240-LSS        Doc 527       Filed 08/07/19    Page 9 of 10



                    Objection/Response Deadline:           August 8, 2019 at 12:00 p.m.

                    Objection / Responses Received:        None as of this date.

                    Related Documents:

                    i.     Motion of the Debtors for Entry of an Order Shortening the Notice and
                           Objection Periods for the Supplemental Motion of the Debtors for Entry of
                           an Order (I) Authorizing the Debtors to Pay (A) Certain Prepetition
                           Employee Obligations and (B) Certain WARN Act Liabilities; and
                           (II) Granting Related Relief [Docket No. 504 – filed August 2, 2019]

                    ii.    Order Shortening the Notice and Objection Periods for the Supplemental
                           Motion of the Debtors for Entry of an Order (I) Authorizing the Debtors to
                           Pay (A) Certain Prepetition Employee Obligations and (B) Certain WARN
                           Act Liabilities; and (II) Granting Related Relief [Docket No. 508 – entered
                           August 5, 2019]

                    Status: The hearing on this matter is going forward.




                                                      9
RLF1 21676588v.2
               Case 19-11240-LSS   Doc 527    Filed 08/07/19     Page 10 of 10




Dated: August 7, 2019                  Respectfully submitted,
       Wilmington, Delaware
                                        /s/ Megan E. Kenney
                                       Daniel J. DeFranceschi (No. 2732)
                                       Paul N. Heath (No. 3704)
                                       Brett M. Haywood (No. 6166)
                                       Megan E. Kenney (No. 6426)
                                       RICHARDS, LAYTON & FINGER, P.A.
                                       One Rodney Square
                                       920 N. King Street
                                       Wilmington, Delaware 19801
                                       Telephone: (302) 651-7700
                                       Facsimile: (302) 651-7701
                                       Email: defranceschi@rlf.com
                                               heath@rlf.com
                                               haywood@rlf.com
                                               kenney@rlf.com

                                               -and-

                                       Heather Lennox (admitted pro hac vice)
                                       Thomas A. Wilson (admitted pro hac vice)
                                       JONES DAY
                                       901 Lakeside Avenue
                                       Cleveland, Ohio 44114
                                       Telephone: (216) 586-3939
                                       Facsimile: (216) 579-0212
                                       Email: hlennox@jonesday.com
                                              tawilson@jonesday.com

                                       Brad B. Erens (admitted pro hac vice)
                                       Caitlin K. Cahow (admitted pro hac vice)
                                       JONES DAY
                                       77 West Wacker
                                       Chicago, Illinois 60601
                                       Telephone: (312) 782-3939
                                       Facsimile: (312) 782-8585
                                       Email: bberens@jonesday.com
                                               ccahow@jonesday.com

                                       ATTORNEYS FOR DEBTORS AND
                                       DEBTORS IN POSSESSION




                                         10
RLF1 21676588v.2
